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                                              January 3, 2020

    Via Electronic Mail
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                  RE: USA v. Zangrillo; 19-CR-10080-19

    Dear Eric and Justin:

            We are in receipt of your December 20, 2019 email requesting reciprocal discovery under
    Fed. R. Crim. P. 16(b). The defense is aware of its reciprocal discovery obligations and intends to
    fully comply with them.

             While the government is obligated to produce exculpatory information in its possession
    pursuant to Brady v. Maryland, the defense has no analogous obligation to produce information to the
    government, whether it be exculpatory or inculpatory. Rather, Rule 16(b) limits the scope of a
    defendant’s reciprocal discovery obligations to documents he “intends to use” in his “case-in-chief at
    trial.” At this point, where the government has yet to make complete productions required by Rule 16
    and Brady, where the government has not yet made any production from its seizure of Mr. Zangrillo’s
    emails of documents that it has reviewed and identified as discoverable, and where significant pre-
    trial motions (including motions for severance and motions to dismiss) have yet to be decided or even
    filed, it is not possible for the defense to determine what, if any, documents it intends to use in its
    case-in-chief. Finally, given that there is no trial date set in this matter, the defense does not believe
    the government will suffer prejudice as a result of any delay in Mr. Zangrillo’s Rule 16 disclosures.



                                                                     Yours Truly,


                                                                     Martin G. Weinberg, Esq.
                                                                     Matthew L. Schwartz, Esq.
                                                                     Nicholas Theodorou, Esq.
